Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 1 of 12 PageID #: 112
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 2 of 12 PageID #: 113
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 3 of 12 PageID #: 114
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 4 of 12 PageID #: 115
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 5 of 12 PageID #: 116
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 6 of 12 PageID #: 117
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 7 of 12 PageID #: 118
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 8 of 12 PageID #: 119
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 9 of 12 PageID #: 120
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 10 of 12 PageID #: 121
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 11 of 12 PageID #: 122
Case 3:10-cr-00090   Document 63   Filed 07/10/12   Page 12 of 12 PageID #: 123
